Case 5:20-cv-01746-JGB-SP Document 47 Filed 12/09/21 Page 1 of 3 Page ID #:584




   1   Joseph R. Manning, Jr., Esq. (SBN 223381)
   2
       MANNING LAW, APC
       20062 SW Birch St., Suite 200 Newport Beach, CA 92660
   3   Tel: (949) 200-8755 Fax: (866) 843-8308
   4
       DisabilityRights@manninglawoffice.com

   5   Attorneys for Plaintiff:
   6
       JAMES RUTHERFORD

   7   Frank A. Weiser (SBN 89780)
   8   maimons@aol.com
       3460 Wilshire Blvd., Ste. 1212
   9   Los Angeles, CA 90010
  10   Telephone: (213) 384-6964 / Fax: (213) 383-7368

  11   Attorneys for Defendant
  12   VKND KENDALL LLC
                          UNITED STATES DISTRICT COURT
  13

  14                      CENTRAL DISTRICT OF CALIFORNIA

  15   JAMES RUTHERFORD, an                    Case No.: 5:20-cv-01746-JGB-SP
  16   individual,
                                               Hon. Jesus G. Bernal
  17         Plaintiff,
  18                                           JOINT NOTICE OF SETTLEMENT
       v.
  19                                           Complaint Filed: August 28, 2020
  20                                           Trial Date: None Set
        VKND KENDALL LLC, a California
  21    limited liability company; and
  22    DOES 2-10, inclusive,

  23        Defendants.
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                              JOINT NOTICE OF SETTLEMENT
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Case 5:20-cv-01746-JGB-SP Document 47 Filed 12/09/21 Page 2 of 3 Page ID #:585




   1         TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
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             Plaintiff, JAMES RUTHERFORD, and Defendant, VKND KENDALL LLC
   3

   4
       (the “Parties”) have reached a settlement in this matter and expect to file a joint

   5   stipulation for dismissal of the action pending completion of certain terms of the
   6
       confidential settlement agreement.
   7

   8   Dated: December 9, 2021                        MANNING LAW, APC

   9
                                               By:    /s/ Joseph R. Manning, Jr. Esq.
  10                                                  Joseph R. Manning, Jr., Esq.
  11                                                  Attorneys for Plaintiff,
                                                      James Rutherford
  12

  13   Dated: December 9, 2021

  14                                           By:    /s/ Frank A. Weiser
  15                                                  Frank A. Weiser
                                                      Attorney for Defendant,
  16                                                  VKND Kendall LLC
  17
                                 CERTIFICATE OF SERVICE
  18
             I certify that on December 9, 2021, I electronically filed the foregoing
  19
       document with the Clerk of the Court using CM/ECF. I also certify that the
  20
       foregoing document is being served this day on counsel of record in this action via
  21
       email transmission and via transmission of Electronic Filing generated by
  22
       CM/ECF.
  23
                                                      Respectfully submitted,
  24

  25   Dated: December 9, 2021                        MANNING LAW, APC
  26                                           By:    /s/ Joseph R. Manning, Jr. Esq.
  27                                                  Joseph R. Manning, Jr., Esq.
                                                      Attorneys for Plaintiff
  28                                                  James Rutherford
                                 JOINT NOTICE OF SETTLEMENT
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Case 5:20-cv-01746-JGB-SP Document 47 Filed 12/09/21 Page 3 of 3 Page ID #:586




   1                             SIGNATURE ATTESTATION
   2
             Pursuant to Civil L.R 5-4.3.4(a)(2)(i), I hereby attest that all other
   3

   4
       signatories listed, and on whose behalf the filing is submitted, concur in this

   5   document’s content and have authorized the filing of this document with the use
   6
       of their electronic signature.
   7

   8

   9   Dated: December 9, 2021                        MANNING LAW, APC
  10                                           By:    /s/ Joseph R. Manning, Jr. Esq.
  11                                                  Joseph R. Manning, Jr., Esq.
                                                      Attorneys for Plaintiff
  12                                                  James Rutherford
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                                 JOINT NOTICE OF SETTLEMENT
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